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 1         For this Complaint, the Plaintiff, Desiree Rodriguez, by undersigned counsel,
 2
     states as follows:
 3
 4                                       JURISDICTION

 5         1.     This action arises out of Defendants’ repeated violations of the Fair Debt
 6
     Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”), and the invasions of
 7
     Plaintiff’s personal privacy by the Defendants and its agents in their illegal efforts to
 8
 9 collect a consumer debt.
10
           2.     Supplemental jurisdiction exists pursuant to 28 U.S.C. § 1367.
11
           3.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that
12
13 Defendants transact business here and a substantial portion of the acts giving rise to
14
     this action occurred here.
15
16                                          PARTIES

17         4.     The Plaintiff, Desiree Rodriguez (hereafter “Plaintiff”), is an adult
18 individual residing in Victorville, California, and is a “consumer” as the term is
19
   defined by 15 U.S.C. § 1692a(3).
20
21         5.     Defendant, Milestone Law Group (“Milestone”), is a California business
22 entity with an address of 9340 Santa Anita Avenue, Suite 104, Rancho Cucamonga,
23
   California 91730, operating as a collection agency, and is a “debt collector” as the
24
25 term is defined by 15 U.S.C. § 1692a(6).
26
27
28
                                                2                 COMPLAINT FOR DAMAGES
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 1         6.    Does 1-10 (the “Collectors”) are individual collectors employed by
 2
     Milestone and whose identities are currently unknown to the Plaintiff. One or more of
 3
 4 the Collectors may be joined as parties once their identities are disclosed through
 5 discovery.
 6
         7.      Milestone at all times acted by and through one or more of the Collectors.
 7
 8                     ALLEGATIONS APPLICABLE TO ALL COUNTS
 9 A.      The Debt
10
           8.    The Plaintiff allegedly incurred a financial obligation in the approximate
11
     amount of $600.00 (the “Debt”) to Wells Fargo Bank (the “Creditor”).
12
13         9.    The Debt arose from services provided by the Creditor which were
14
     primarily for family, personal or household purposes and which meets the definition
15
16 of a “debt” under 15 U.S.C. § 1692a(5).
17         10.   The Debt was purchased, assigned or transferred to Milestone for
18
     collection, or Milestone was employed by the Creditor to collect the Debt.
19
20         11.   The Defendants attempted to collect the Debt and, as such, engaged in

21 “communications” as defined in 15 U.S.C. § 1692a(2).
22
     B.    Milestone Engages in Harassment and Abusive Tactics
23
24         12.   Within the last year, Milestone contacted Plaintiff’s brother-in-law and

25 mother-in law in an attempt to collect the Debt.
26
27
28
                                              3                COMPLAINT FOR DAMAGES
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 1         13.     Milestone informed Plaintiff’s relatives that it was attempting to reach
 2
     Plaintiff in order to serve her with the court documents, causing great embarrassment
 3
 4 to Plaintiff.
 5         14.     Thereafter, Milestone spoke to Plaintiff. Milestone identified itself as a
 6
     “law group,” and failed to inform Plaintiff that it was a debt collector and that the call
 7
 8 was an attempt to collect the Debt.
 9         15.     In or around September of 2012, Milestone threatened to take immediate
10
     legal action against Plaintiff if the Debt was not immediately paid.
11
12         16.     Milestone threatened to garnish Plaintiff’s wages and income tax returns.
13 Milestone did not have present ability to garnish without first obtaining judgment
14
   against Plaintiff.
15
16         17.     Plaintiff offered to make small monthly payments to avoid a lawsuit and
17 in an effort to stop further collection activity and explained to Milestone that it was all
18
   she could afford to pay at the time.
19
20         18.     Milestone refused Plaintiff’s offer. Moreover, Milestone threatened to
21 inform the Judge that Milestone offered payment arrangements to Plaintiff, which
22
   Plaintiff would not accept.
23
24         19.     Plaintiff did not payment to Milestone, and legal action did not ensue as
25 threatened.
26
27
28
                                                4                 COMPLAINT FOR DAMAGES
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 1         20.    Milestone failed to inform Plaintiff of her rights in writing as it is
 2
     required by law.
 3
 4                                COUNT I
         VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
 5                         15 U.S.C. § 1692, et seq.
 6
           21.    The Plaintiff incorporates by reference all of the above paragraphs of this
 7
     Complaint as though fully stated herein.
 8
 9         22.    The Defendants communicated with individuals other than the Plaintiff,
10
     the Plaintiff’s attorney, or a credit bureau, in violation of 15 U.S.C. § 1692c(b).
11
           23.    The Defendants engaged in behavior the natural consequence of which
12
13 was to harass, oppress, or abuse the Plaintiff in connection with the collection of a
14
     debt, in violation of 15 U.S.C. § 1692d.
15
16         24.    The Defendants placed calls to the Plaintiff without disclosing the

17 identity of the debt collection agency, in violation of 15 U.S.C. § 1692d(6).
18
           25.    The Defendants used false, deceptive, or misleading representation or
19
20 means in connection with the collection of a debt, in violation of 15 U.S.C. § 1692e.
21         26.    The Defendants misrepresented legal status of the debt, in violation of 15
22
     U.S.C. § 1692e(2).
23
24         27.    The Defendants threatened the Plaintiff with garnishment if the debt was

25 not paid, in violation of 15 U.S.C. § 1692e(4).
26
27
28
                                                5                 COMPLAINT FOR DAMAGES
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 1         28.    The Defendants threatened to take action without legal ability to do so or
 2
     without actually intending to do so, in violation of 15 U.S.C. § 1692e(5).
 3
 4         29.    The Defendants employed false and deceptive means to collect a debt, in

 5 violation of 15 U.S.C. § 1692e(10).
 6
          30. The Defendants failed to inform the consumer that the communication
 7
 8 was an attempt to collect a debt, in violation of 15 U.S.C. § 1692e(11).
 9         31.    The Defendants used unfair and unconscionable means to collect a debt,
10
     in violation of 15 U.S.C. § 1692f.
11
12         32.    The Defendants failed to send Plaintiff an initial letter within five days of
13 its initial contact with Plaintiff as required by law, in violation of 15 U.S.C. §
14
   1692g(a).
15
16         33.    The foregoing acts and omissions of the Defendants constitute numerous
17 and multiple violations of the FDCPA, including every one of the above-cited
18
   provisions.
19
20         34.    The Plaintiff is entitled to damages as a result of the Defendants’
21 violations.
22
                                COUNT II
23          VIOLATION OF THE ROSENTHAL FAIR DEBT COLLECTION
24                 PRACTICES ACT, Cal. Civ. Code § 1788 et seq.
25         35.    The Plaintiff incorporates by reference all of the above paragraphs of this
26
     Complaint as though fully stated herein.
27
28
                                                6                COMPLAINT FOR DAMAGES
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 1         36.    The Rosenthal Fair Debt Collection Practices Act, California Civil Code
 2
     section 1788 et seq. (“Rosenthal Act”) prohibits unfair and deceptive acts and
 3
 4 practices in the collection of consumer debts.
 5         37.    Milestone Law Group, in the regular course of business, engages in debt
 6
     collection and is a “debt collector” as defined by Cal. Civ. Code § 1788.2(c).
 7
 8         38.    The Defendants threatened the Plaintiff with garnishment or attachment
 9 of his wages if the debt was not paid, without intending to institute such proceedings,
10
   in violation of Cal. Civ. Code § 1788.10(e).
11
12        39. The Defendants did not disclose the identity of the debt collection agency
13 when communicating with the Plaintiff, in violation of Cal. Civ. Code § 1788.11(b).
14
        40. The Defendants failed to comply with the provisions of 15 U.S.C. §
15
16 1692, et seq., in violation of Cal. Civ. Code § 1788.13(e).
17         41.    The Defendants communicated information about the debt to the
18
     Plaintiff’s extended family, without the intent of confirming the Plaintiff’s location
19
20 and without consent from the Plaintiff or the Plaintiff’s attorney, in violation of Cal.
21 Civ. Code § 1788.12(b).
22
         42. The Defendants falsely represented that a legal proceeding had been or
23
24 was about to be instituted unless the debt was paid immediately, in violation of Cal.
25 Civ. Code § 1788.13(j).
26
27
28
                                               7                 COMPLAINT FOR DAMAGES
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1          43.   The Defendants did not comply with the provisions of Title 15, Section
2
     1692 of the United States Code, in violation of Cal. Civ. Code § 1788.17.
3
4          44.   The Plaintiff is entitled to damages as a result of the Defendants’

5 violations.
6
                                   PRAYER FOR RELIEF
7
           WHEREFORE, the Plaintiff prays that judgment be entered against the
8
9 Defendants:
10
11               A. Actual damages pursuant to 15 U.S.C. § 1692k(a)(1) against the
12                  Defendants;
13
                 B. Statutory damages of $1,000.00 pursuant to 15 U.S.C. §1692k(a)(2)(A)
14
15                  against the Defendants;
16               C. Costs of litigation and reasonable attorney’s fees pursuant to 15 U.S.C.
17
                    § 1692k(a)(3) against the Defendants;
18
19               D. Actual damages pursuant to Cal. Civ. Code § 1788.30(a);
20               E. Statutory damages of $1,000.00 for knowingly and willfully committing
21
                    violations pursuant to Cal. Civ. Code § 1788.30(b);
22
23               F. Actual damages from the Defendants for the all damages including
24                  emotional distress suffered as a result of the intentional, reckless, and/or
25
                    negligent FDCPA violations and intentional, reckless, and/or negligent
26
27
28
                                               8                 COMPLAINT FOR DAMAGES
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1                 invasions of privacy and intentional infliction of emotional distress in an
2
                  amount to be determined at trial for the Plaintiff;
3
4              G. Punitive damages; and

5              H. Such other and further relief as may be just and proper.
6
7                 TRIAL BY JURY DEMANDED ON ALL COUNTS
8
9              DATED: March 18, 2013                TAMMY HUSSIN
10
11                                               By:_____________________________
12                                               Tammy Hussin, Esq.
                                                 Lemberg & Associates, LLC
13                                               Attorney for Plaintiff, Desiree Rodriguez
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                                             9                  COMPLAINT FOR DAMAGES
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